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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

 UNITED STATES                                       )
                                                     )      DOCKET NO.: 1:20-cr-10012-IT
                        v.                           )
                                                     )
 PAUL BATEMAN                                        )
                                                     )

                      DEFENDANT’S SENTENCING MEMORANDUM

        Paul Bateman, having accepted responsibility and pleaded guilty to a two-count

indictment charging possession and receipt of child pornography, submits this sentencing

memorandum in support of his recommendation for a 60-month term of incarceration followed

by five years’ supervised release. This recommended disposition represents a fairer application

of the sentencing guidelines, adequately reflects the seriousness of the offense before the Court

and balances the need to punish with other properly considered sentencing factors. This proposed

sentence – which involves not just a lengthy sentence of imprisonment and the first time Mr.

Bateman will ever have been incarcerated – also contemplates mandatory restitution, 1 onerous

registration obligations and significant monitoring by United States Probation, and is consistent

with the factors set forth in 18 U.S.C. § 3553(a) and will result in a sentence that is sufficient,

but not greater than necessary, to effectuate the purposes of sentencing. United States v.

Kimbrough, 552 U.S. 85 (2007); United States v. Booker, 543 U.S. 220 (2005); United States v.

Martin, 520 F.3d 87 (1 st Cir. 2008); United States v. Rodriguez, 527 F.3d 221 (1 st Cir. 2008).

        Finally, Mr. Bateman requests that this Honorable Court recommend to the Bureau of

Prisons (“BOP”) that he be designated to a facility, commensurate with this security level, in


1 Undersigned counsel has been able to reach restitution settlements with some, but not all, the victims

in this case, but will request – jointly with the government – that a further date for restitution hearing be
set within 90 days of the date of sentencing.
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Massachusetts – specifically, FMC Devens, to permit him to engage in sex offender treatment2

and to be closer to the only family he has and the only community he has ever known.

                                          ARGUMENT

       The Supreme Court, recognizing the immense discretion afforded to sentencing judges,

advised that sentencing courts should “consider every convicted person as an individual and

every case as a unique study in human failings that sometimes mitigate, sometimes magnify, the

crime and the punishment to ensue.” Koon v. United States, 518 U.S. 81, 113 (1996). The First

Circuit stressed that sentencing determinations require a “more holistic inquiry” than simply

plugging numbers into a guidelines calculation, and that, at least in the federal context, the

federal statutory factors to be considered are “a tapestry of factors, through which runs the thread

of an overarching principle [of parsimony].” See Rodriguez, 527 F.3d at 228, citing Kimbrough,

562 U.S. at 101. That overarching principle is to “impose a sentence sufficient but not greater

than necessary.” Id. In reaching a decision on what constitutes an appropriate sentence, the court

should “consider all the relevant factors” and “construct a sentence that is minimally sufficient

to achieve the broad goals of sentencing.” Id.

       Many courts caution against punishing consumers of child pornography more harshly in

response to the societal pressure to punish their “prurient interests” and in an effort to punish

them as proxies for producers and distributors:

       […] wanting to punish someone for the crimes that these horrible images embody, society
       seeks harsh sentences for anyone who participates in this market. Rarely able to catch the
       monsters that create the images, society reflexively nominates the consumers of this toxic
       material as proxies for the depraved producers and publishers. The resulting punishment
       under the Guidelines may be more a reflection of our visceral reaction to these images
       than a considered judgment of the appropriate sentence for an individual defendant.


2 See Federal Bureau of Prisons, Custody & Care: Sex Offenders, listing FMC Devens as one of the

nine BOP facilities that offer sex offender treatment:
https://www.bop.gov/inmates/custody_and_care/sex_offenders.jsp
                                                 2
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United States v. Cruikshank, 667 F. Supp. 2d 697, 703 (S.D.W. Va. 2009). 3 The offenses for

which Mr. Bateman stands convicted involve the receipt and possession of child pornography,

and despite what the government recounts as a lengthy “collecting” period, he did not distribute

any of the material nor did he produce any such material. Empirical research shows, however,

that internet child pornography offenders, like Mr. Bateman, “do not, as a group, present a

significant risk of escalation to contact sexual offenses.” 4 This is not meant by any means to

downplay the trauma and prevalence of child pornography, but rather to put Mr. Bateman’s

conduct in the greater political, empirical, and comparative context – and to demonstrate that

individualized determinations are necessary to achieve parity and fairness in sentencing for a

defendant who did not engage in either production or distribution of the material he possessed.

       As explained herein, a sentence of 60 months, followed by a period of supervised release

of five years with special sex offender treatment and registration conditions, appropriately

reflects the nature and seriousness of the offense and Mr. Bateman’s personal history, and

provides just punishment. Though the 60-month sentence requested herein is the “minimum” the

court can impose on a defendant convicted of receipt of child pornography pursuant to 18 U.S.C.

§§ 2252A(a)(2)(A) and (b)(1), it is by no measure an “insufficient” punishment for Mr. Bateman.

A 60-month sentence is not just substantial punishment for a man in his 50s who has never before

been arrested, charged, or imprisoned, but the lifelong and life-altering consequences attendant

to his convictions make Mr. Bateman’s recommended sentence sufficient but no greater than


3 See also Rachel Aviv, “The Science of Sex Abuse,” The New Yorker, Jan. 14, 2013,

https://www.newyorker.com/magazine/2013/01/14/the-science-of-sex-abuse (rather than relying on
social science and empirical evidence, lawmakers have treated child pornography offenses as if they
were “inchoate” crimes, and they have “become a kind of proxy – a way to incapacitate men who we
fear have already molested someone, or will in the future.”).
4 Helen Wakeling et al., “Comparing the Validity of the RM 2000 Scales and OGRS3 for Predicting

Recidivism by Internet Sexual Offenders,” Sexual Abuse: J. Res. & Treatment, Vol. 23, Iss. 1 at pg.164
(2011).
                                                  3
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necessary. It is a sentence that is authorized by Congress and is one that is adequate and just.

    I.      The Advisory Guideline Sentence Range Should be Afforded Little Weight in
            Determining an Appropriate and Sufficient Sentence in this case.

         While courts must consider the sentencing guidelines, the Supreme Court has held that

the Court may not presume that a guideline sentencing range is reasonable, and Congress has

required federal courts to impose the least amount of imprisonment necessary to accomplish the

purposes of sentencing as set forth in 18 U.S.C. § 3553(a). Kimbrough, supra; Gall v. United

States, 552 U.S. 38 (2007). Mr. Bateman does not dispute Probation’s calculation of the

guidelines: after adjusting for acceptance of responsibility, Mr. Bateman’s total offense level is

30. PSR at ¶¶ 21-34. Notably, Mr. Bateman did not receive an enhancement – and indeed

received a 2-point reduction under U.S.S.G. § 2G2.2(b)(1) – as he did not intend to traffic in or

distribute the material. See id. at ¶ 22. With a criminal history category I, the resulting advisory

sentencing range is 97-121 months imprisonment. Id. at pg. 17. But, as even the government

recognizes in this case, a more practical application of the guidelines would produce a lower

total offense level and a lower corresponding advisory sentencing range.

           Support for a “Reconstructed Guideline” Analysis for U.S.S.G. § 2G2.2

         The child pornography guidelines have been called “a one-way ratchet, repeatedly turned

by Congress,” 5 with the increasingly punitive amendments driven by politics rather than

empirical or evidence-based research. United States v. Dorvee, 616 F.3d 174, 184-85 (2nd Cir.

2010). The Sentencing Commission “openly opposed these Congressionally directed changes”

several times over the years, stressing that the amendments outlined above prevent the

Commission from “provid[ing] proportionality among different grades of seriousness” and


5 See also Carol S. Steiker, “Lessons from Two Failures: Sentencing for Cocaine and Child

Pornography under the Federal Sentencing Guidelines in the United States,” 76 Law & Contemp.
Probs. Vol, 76, No. 1, at 37 (2013).
                                                 4
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would “reintroduce sentencing disparity among similar defendants.” Id. at 185 (internal

quotations omitted). Although political and moral judgments guide sentencing considerations in

all criminal cases, as Chief Judge Saylor in this district emphasized, “the sentencing of child

pornography offenders has been politicized to a degree not present in other cases,” and is not

predicated on “careful empirical analysis.” Excerpt Transcript of Sentencing at 5, United States

v. Bhavsar, Docket No. 10-CR-40018-FDS, ECF No. 56 at pg. 5.

        The sentencing guidelines for offenses under USSG § 2G2.2 are more often not followed

because of the unjustifiably high sentences they call for.6 Perhaps no other guideline has been so

roundly rejected and criticized by the courts. In Dorvee, the Second Circuit described USSG §

2G2.2 as “an eccentric Guideline of highly unusual provenance which, unless carefully applied,

can easily generate unreasonable results.” 616 F.3d at 188. The Second Circuit also characterized

a mechanical application of the child pornography guidelines as “fundamentally incompatible

with § 3553(a),” Id. at 187, and noted that most of the §2G2.2 enhancements “are all but inherent

to the crime of conviction” and “routinely result in Guidelines projections near or exceeding the

statutory maximum, even in run-of-the-mill cases.” Id. at 186. 7 A December 2012 Sentencing



6 See U.S. Sent’g Comm’n, Mandatory Minimum Penalties for Sex Offenses in the Federal Criminal

Justice System, January 2019, https://www.ussc.gov/sites/default/files/pdf/research-and-
publications/research-publications/2019/20190102_Sex-Offense-Mand-Min.pdf, at 49-52 (noting that
in Fiscal Year 2016 only 26.8% of child pornography offenders were sentenced within the guideline
range, compared to 46.6 percent of offenders overall).
7 See United States v. Grober, 595 F.Supp.2d 382, 397 (D.N.J. 2008) (characteristics identified by the

Sentencing Commission as enhancements are “irrational because logically and factually, the
characteristics are simply not genuine aggravating factors. Rather, they are inherent in just about any
downloading offense.”). See also U.S. Sent’g Comm’n, Use of Guidelines and Specific Offense
Characteristics, Guideline Calculation Based, Fiscal Year 2017,
https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-sentencing-
statistics/guideline-application-frequencies/2017/Use_of_SOC_Guideline_Based.pdf, at 45-46
(showing that in Fiscal Year 2017, enhancements were applied with the following frequency in cases
sentenced under §2G2.2: prepubescent minor - 94.1%; sadistic or masochistic content – 71.2%;
distribution (of any kind) – 51.1%; use of computer – 95.7%; number of images – 95.3% (74.7% for
600 images or more).

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Commission report to Congress on federal child pornography offenses similarly noted that in

non-production cases, many of the sentencing enhancements applied in the vast majority of §

2G2.2 cases. 8

        Many judges in this district have not endorsed a mechanical application of § 2G2.2 for

the exact reasons advanced by the Sentencing Commission. One judge asserted that the guideline

for this offense is “flawed,” and “doesn’t command the same respect that other aspects of the

Guidelines may.” United States v. Hooper, 12-CR-10156 (GAO) (Judgment, Dec. 4, 2012);

United States v. Keith, 11-CR-10294-GAO (ECF No. 106, Transcript of Sentencing, Sept. 29,

2014). In those cases, Judge O’Toole “reconstructed” the guideline “by adjusting for the

exclusion of those adjustments” that occur in over 90 percent of cases as set forth in the

Sentencing Commission’s 2012 report, and “omitted the adjustments” for prepubescent-minor,

use of a computer, and number of images, thereby reducing the defendant’s offense level by

nine. See Keith, supra, at pg. 53. 9

        The same flaws in the guidelines present themselves here and lend support to a downward

variance. In its sentencing memorandum, the government advocates for the “discount[ing of] the


8 See U.S. Sent’g Comm’n, Report to the Congress: Federal Child Pornography Offenses (2012), Table

8-1: FY10 Application Rates of Enhancements in § 2G2.2, pg. 209,
https://www.ussc.gov/sites/default/files/pdf/news/congressional-testimony-and-reports/sex-offense-
topics/201212-federal-child-pornography-offenses/Full_Report_to_Congress.pdf.
9 In United States v. Bhavsar, Judge Saylor noted “the enhancement for use of a computer is overkill at

best in an age in which all photography and all circulation of pornography is done by computer; and
likewise, the enhancement for images involving prepubescent minors is duplicative when no other kinds
of cases are prosecuted[.]” 10-CR-40018-FDS, ECF No. 56, Excerpt Transcript of Sentencing at 6. See
also United States v. Kearney, 08-CR-40022-FDS, ECF No. 151, Transcript of Sentencing at 33 (noting
that the specific offense characteristics under §2G2.2 are “based on purported individualized factors,
but the factors aren’t individualized,” and that the enhancements for images depicting prepubescent
minors, number of images, and use of a computer are” duplicative and unnecessary.”), and United
States v. O’Hern, 14-cr-10241-DJC (ECF No. 45-2, Transcript of Sentencing, July 21, 2015, pg. 4)
(imposing a more than 50-percent downward variance to 63 months where the guideline range was 151-
188 months and the conduct involved both distribution and possession of child pornography, in
recognition of the inappropriateness of some of these universally applied enhancements and recognized
the widespread criticisms of the child pornography guidelines.).
                                                  6
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‘use of computer’ enhancement,” which would produce a total offense level 28 and a GSR of

78-97 months. See D.E. 157, Gov. Sent. Memo at 4, 5-6. Mr. Bateman asks this court to

deconstruct the guideline further. Specifically, and in addition to omitting the “use of computer”

2-point enhancement at § 2G2.2(b)(6), it would be appropriate – as essentially inherent to the

crime of conviction – to similarly omit the 2-point enhancement for “prepubescent minor” at §

2G2.2(b)(2). Using this “reconstructed” guideline and omitting the adjustments for

prepubescent-minor and use of a computer (which are inherent to the crime of conviction), Mr.

Bateman’s total offense level would be reduced by four levels to an adjusted GSR of 26 after

acceptance, resulting in an advisory guideline sentencing range of 63-78 months.

   II.      A 60-Month Sentence is Just and No More Than Necessary to Achieve the Goals
            of Sentencing.

         Mr. Bateman accepts completely that his conduct was criminal and harmful to the victims

in this case, and he does not dispute that he deserves punishment. Indeed, for over the last four

years, he has truly come to terms with the gravity of his offenses and has already begun to suffer

the consequences. In accepting responsibility and in requesting a sentence of imprisonment of

60 months, Mr. Bateman asks this Court to impose not just the lengthiest term of incarceration

in his life, but the first and only term of imprisonment he has ever served. Where, as explained

above, the advisory sentencing guidelines recommend a range that is neither just nor wholly

commensurate to the conduct, this Honorable Court is instead guided by the principle of 18

U.S.C. § 3553(a) to impose a sentence that is sufficient, but not greater than necessary.

                          Mr. Bateman’s History and Characteristics

         Mr. Bateman’s “history and characteristics” are a required consideration under 18 U.S.C.

§ 3553(a)(1) in determining what sentence is “sufficient but not greater than necessary.” As he

stands ready to be sentenced for his offenses, Mr. Bateman presents as both a man who has lost


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so much, and a man who is capable of rehabilitation and worthy of support. Understandably, his

arrest for these offenses shattered many relationships and resulted in not just the loss of his job,

but a 20+-year career. See PSR ¶ 54. His wife and partner of 25 years was, of course, devastated

by his conduct and they briefly separated after his arrest. But, as testament to and demonstrative

of Mr. Bateman’s sincere remorse, his efforts to rebuild his relationships, and to achieve a law-

abiding, productive life, Mr. Bateman worked hard to obtain new employment and to

meaningfully reconcile with his wife. Id. at ¶¶ 47, 53.

       Shortly after his arrest in December 2019, Mr. Bateman was released on a secured bond

and numerous conditions of release, which included significant computer and internet

restrictions and home detention. See D.E. # 7, 9. Over the course of four years, his conditions of

release were amended with the assent of the government and U.S. Pretrial Services to permit him

to, inter alia, return to his marital home and to “step down” his home detention to a set curfew.

And over the last 4+ years, Mr. Bateman has remained compliant with his conditions of release

and dutifully reports to his Pretrial Officer. Indeed, the government did not seek his detention

after his plea in this case, and he remained on conditions pending sentencing for over six months

without violation or issue. His record of compliance with the most onerous of conditions clearly

evinces his amenability for rehabilitation.

       In February 2020, Mr. Bateman secured employment with a local store and he was able

to progress from cashier to stock associate, and eventually to cooler supervisor. See Exhibit 3,

Letter from Employer. Though both this work and his compensation vastly differ from his prior

career, Mr. Bateman diligently sought to prove himself a hardworking and valued employee. Id.

       He has also engaged in extremely difficult discussions with family about his offenses and

about his intentions and commitment to never again reoffend or bring further shame to them. See



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PSR at ¶ 47; Exhibit 1, Letter from John Bateman. And though those closest to him were horrified

by his conduct, their continued support reflects his acceptance of responsibility and the remorse

that he has expressed to them. Id.

       For someone who made a life in the area where he grew up, Mr. Bateman will

undoubtedly feel the loss of community and familial support more acutely when imprisoned and

he recognizes that in accepting responsibility and recommending a 60-month sentence, he is

likely to further be isolated from family and his community. His mother writes of the toll that

this case has taken on both Mr. Bateman and his family and worries that a lengthy prison sentence

will result in her not seeing her family again. See Exhibit 2, Letter of Mary Bateman.

                          Reduced Risk of Recidivism and Deterrence

       While many laws pertaining to child pornography offenders are driven by a fear of

recidivism, sentencing commission statistics show that recidivism rates for child pornography

offenders is among the lowest across all types of criminal offenders.10 Like Mr. Bateman, “first-

time child pornography possession offenders appear to be very low risk of sexual recidivism, in

contrast to those with any prior or concurrent criminal convictions or those who engage in other

sexual offending [e.g., attempted or actual contacts with a child, production of child

pornography],” 11 and “online offenders who had no history of contact offenses almost never

committed contact sexual offenses.” 12



10 U.S. Sent’g Comm’n, The Past Predicts the Future: Criminal History and Recidivism of Federal

Offenders, (March 2017) at A-15 and A-16, https://www.ussc.gov/sites/default/files/pdf/research-and-
publications/research-publications/2017/20170309_Recidivism-CH.pdf (showing that child
pornography offenders had the lowest rate of reconviction and reincarceration).
11 “Child Pornography Offender Characteristics and Risk to Reoffend,” Testimony of Michael C. Seto,

Ph.D., C. Psych. before the USSC, Feb. 6, 2012, at pg. 4,
https://www.ussc.gov/sites/default/files/pdf/amendment-process/public-hearings-and-
meetings/20120215-16/Testimony_15_Seto.pdf
12 Michael C. Seto et al., “Contact Sexual Offending by Men With Online Sexual Offenses,” Sexual

Abuse Vol. 23, Iss. 1, at pg. 137 (2011); see also Richard Wollert, Written Testimony Presented to the
                                                  9
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        Now 51 years old, Mr. Bateman faces the prospect of release from federal prison in his

early to mid-50s, and he will enter a vastly different world from the one he leaves when he will

be sentenced. But notably, he is already in an age cohort that has reduced levels of sexual

recidivism, and that risk of recidivism will only continue to decrease with time. According to the

United States Sentencing Commission, recidivism rates (re-arrest, re-conviction, and supervised

release violation rates) among all offenders generally “decline relatively consistently as age

increases,” from 35.5% for offenders under age 21, down to 12.7% for offenders age 41 to 50,

and down to 9.5% for offenders over age 50. 13 For offenders in both Mr. Bateman’s age group

at release and criminal history category (I), the recidivism rate drops even lower, to 6.9%.14 For

sex offenders, specifically, recidivism declines with age, with age being one of the most robust

predictive factors for decreased risk of sexual recidivism. 15 Moreover, both his employment

status and his marital status contribute to reduced rates of recidivism. 16

        With respect to deterrence, both the public exposure of his case and his lengthy period of

pretrial release have already had an enormous deterrent effect on him. Through his perfect record

of compliance with home detention and pretrial release conditions over four years, he has already

demonstrated that his arrest and prosecution have deterred him from reoffending in any way.



U.S. Sent’g Comm’n, “The Implications of Recidivism Research and Clinical Experience for Assessing
and Treating Federal Child Pornography Offenders,” Feb. 15, 2012, at pgs. 14-17, 21-22 (reporting that
in his study of 72 federal child pornography offenders under supervision, including three production
offenders, with varying criminal histories, two were arrested for possessing child pornography and none
were arrested for a contact offense within four years),
https://www.ussc.gov/sites/default/files/pdf/amendment-process/public-hearings-and-
meetings/20120215-16/Testimony_15_Wollert_2.pdf
13 U.S. Sent’g Comm’n, Measuring Recidivism: The Criminal History Computation of the Federal

Sentencing Guidelines, at 12 (2004), https://www.ussc.gov/sites/default/files/pdf/research-and-
publications/research-publications/2004/200405_Recidivism_Criminal_History.pdf
14 Id., at pg. 28, Exhibit 9.
15 See R.K. Hanson, Recidivism and Age: Follow-up Data from 4,673 Sexual Offenders, 17 J. Interpers.

Violence 1046, 1054 (2002).
16 See Note 10, supra, at 12.


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And a 60-month sentence for the conduct of conviction in this case – especially where this will

be Mr. Bateman’s first and only time spent in prison – sends a strong message to other would-

be child pornography offenders about the severe consequences for this conduct.

                         Avoiding Unwarranted Sentencing Disparities

        The need to avoid unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct is codified in 18 U.S.C. § 3553(a)(6).

The U.S. Sentencing Commission provides limited data of dispositions for defendants whose

primary guideline was U.S.S.G. § 2G2.2: specifically, in the last five fiscal years (2019-2023),

774 offenders with Mr. Bateman’s same criminal history category (I) and offense level (30) were

sentenced in federal court.17 The average sentence imposed was 71 months, and the median was

72 months, both of which are below the applicable advisory guideline sentencing range and the

government’s sentencing recommendation in this case. But there are notable limitations to the

consideration of the JSIN data, especially where it offers no breakdown of the enhancements

applied under § 2G2.2 and would include, for example, those whose offenses involved

possession of child pornography but received an enhancement for distribution. 18

        In 2021, the Sentencing Commission published a detailed report to Congress on non-

production child pornography offenders. 19 The Commission studied and reported on the facts,

circumstances, and sentences of all of the 1,340 offenders sentenced under Guideline § 2G2.2




17 See U.S. Sent’g Comm’n, Judiciary Sentencing Information data for Primary Guideline § 2G2.2 at

cell I, 30, https://jsin.ussc.gov/analytics/saw.dll?Dashboard. See also PSR at ¶ 75.
18 Possession of child pornography under § 2G2.2 has a base offense level of 18. Adding all the

enhancements technically applied to Mr. Bateman (a total of 13 points) and a 2-point distribution
enhancement would produce a TOL 30, with acceptance, and the same GSR of 97-121 months.
19 U.S. Sent’g Comm’n, Federal Sentencing of Child Pornography: Non-Production Offenses (2021),

https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-publications/2021/
20210629_Non-Production-CP.pdf at page 7 (13 of 94).
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during FY 2019. 20 Mr. Bateman – with a technical application of the guidelines, at TOL 30 and

GSR of 97-121 months – falls directly in line with the most common receipt cases analyzed in

this study. 21 Notably, 69.2% of receipt defendants in this study received a downward variance,

with some sentenced as low as 37 months. 22

           The data also shows that the “decision to charge possession instead of receipt may not

always reflect the seriousness of offender conduct with respect to distribution,” where “offenders

sentenced for possession actually distributed child pornography (56.8%) at a rate almost three

times higher than those sentenced for receipt (21.2%).”23 Even more telling, for the “possessors-

in-name-only” cases in this study (defendants charged with possession who received a

distribution enhancement) who had Mr. Bateman’s TOL and GSR, the average sentence was 57

months, a sentence far below both the advisory range and the government’s sentencing

recommendation, and below the average and median sentences according to JSIN. 24

                                      Protection of the Public

           Should the Court impose the requested sentence of 60 months and five years of

supervised release, the overall sentence – accounting too for over four years of pretrial

supervision on release conditions – will span over 14 years of Mr. Bateman’s life under court

and/or prison supervision. Though the 60-month sentence contemplates incapacitation during

that period, the limitations on his conduct and life both pretrial and as anticipated on supervised

release are severe and contribute towards the sentencing goal of protecting the public. Moreover,


20 Id. at 9 (15 of 94).
21 Id. at 55 (61 of 94).
22 Id.
23
     Id. at 51 (57 of 94).
24 Id. This is perhaps even more notable where the median number of images from this 2019 study of

non-production child pornography offenses was 4,265 images, with some offenders possessing and
distributing millions of images and videos. Id. at 4 (10 of 94).


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when Mr. Bateman is released from prison, he will be subject to both the sex offender registry

laws and stringent monitoring by probation, which will continue to protect the public and

mitigate his risk of recidivism.

                                         Need for Treatment

        With a 60-month sentence, Mr. Bateman will be able to participate in treatment programs

in the Bureau of Prisons, including sex offender treatment, and his request for a recommendation

to FMC Devens demonstrates his willingness to engage in that treatment. His continued sex

offender treatment and registration will be mandated for the five years that he will be monitored

in the community by U.S. Probation, and his anticipated treatment participation will reduce his

risk of recidivism. 25 A lengthier term of incarceration is not necessary to afford him the treatment

that he will receive during a 60-month sentence and while on supervised release.

                                       Need to Pay Restitution

        The restitution obligations that Mr. Bateman faces is an important sentencing goal the

Court must consider under 18 U.S.C. § 3553(a)(7), and one that counsel submits is of paramount

importance here. See United States v. Menyweather, 447 F.3d 625, 634 (9th Cir. 2006)

(acknowledging district court’s discretion to depart from guidelines to impose probationary

sentence, since the “goal of obtaining restitution for the victims of Defendant’s offense … is

better served by a non-incarcerated and employed defendant.”). Mr. Bateman intends to make

restitution to the victims, and to cooperate in the government’s efforts to collect that restitution.

If incarcerated for a lengthier period of time, Mr. Bateman will not be able to contribute to


25 See U.S. Dep’t of Justice, Center for Sex Offender Management, Understanding Treatment for Adults

and Juveniles Who Have Committed Sex Offenses 10 (2006); See U.S. Sent’g Comm’n, Report to the
Congress: Federal Child Pornography Offenses (2012) [“Child Porn Report”] at 278 & n. 31(quoting
Center of Sex Offender Management, The Comprehensive Approach to Sex Offender Management 5
(2008)) (finding that appropriate treatment interventions are associated with very significant lower rates
of recidivism).
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restitution, and the longer Mr. Bateman is in prison, the longer he will be unable to contribute in

any meaningful way to restitution, and the fewer productive years he will have remaining when

he gets out. Thus, the sentence proposed by the defense fulfills the need to provide restitution to

the victims of the offense.

           Specifically, 29 requests for restitution have been submitted by the government. 26 In

consultation with victims’ counsel, and as of the date of this filing, Mr. Bateman has reached

restitution settlement agreements for 10 victims, and has thus far agreed to pay a total of $33,500

in restitution to these victims. Undersigned counsel continues to review the remaining restitution

requests and is in communication with victims’ counsel on a number of requests, and anticipates

resolution on most, if not all, of the remaining requests. Due to rolling nature of the submissions,

however, and counsel’s need to thoroughly review the materials and consult with Mr. Bateman,

the parties will jointly request that the Court, pursuant to 18 U.S.C. § 3664(d)(5), schedule a date

within 90 days of sentencing to determine restitution. Counsel notes, however, that it is expected

that the total restitution figure will be much higher given the remaining requests yet to be

finalized and/or submitted, but counsel provides the court with the information she has available

at the time of this filing.

    III.      Lifelong and Life-Altering Collateral Consequences Militate in Favor of a 60-
              Month Sentence.

           For Mr. Bateman, this conviction will follow him the rest of his life – well beyond the

terms of his imprisonment and supervised release. It will be significantly harder for him to find

a job and to reintegrate into society upon his release. He likely will be subject to harassment, and


26 Undersigned counsel received restitution requests and materials from the government on a rolling

basis, on April 1, May 3, May 10, and May 14, 2024, and the government has indicated that additional
requests may be expected. Counsel notes that the government, in its sentencing memorandum, indicated
that restitution requests on behalf of 50 victims have been submitted, but after further inquiry,
confirmed that there have been 29 restitution requests made in this case.
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at greater risk of violence, both in prison and afterwards in the community. As several courts

have recognized, collateral consequences of conviction, such as registration as a sex offender,

are relevant to the “need” for the sentence imposed to reflect just punishment. See, e.g., United

States v. Garate, 543 F.3d 1026, 1028 (8th Cir. 2008) (district court’s consideration of the lasting

effects of being required to register as a sex offender is appropriate mitigating factor in

sentencing); United States v. Autery, 555 F.3d 864, 875 (9th Cir. 2009) (characterizing sex

offender registration as “a punishment of lifelong significance (which can cause the listed person

to become so socially ostracized that he has difficulty living in many communities)”). These

collateral consequences of conviction – though civil and not intentionally punitive in nature –

should be considered in the calculus of a sentence’s reasonableness and parsimony. This is

especially true where the “collateral consequences of child pornography convictions are extreme,

perhaps more extreme in some ways than any other form of criminal activity… It is a crime of

extreme shame and humiliation.” United States v. Bhavsar, 10-CR-40018-FDS, ECF No. 56,

Excerpt Transcript of Sentencing at 8.

   IV.      A Fine and/or Special Assessment is Not Warranted Here.

         Though the government is not seeking either a fine or special assessment in this case,

Mr. Bateman submits that neither a fine nor a special assessment, pursuant respectively to 18

U.S.C. § 3014(a)(3) and 18 U.S.C. § 2259A, would be appropriate in this case where his restitution

obligations are expected to be large and his ability to pay restitution would be impaired by the

imposition of a fine or special assessment.

         Though he has been on conditions of release for over four years, his income dramatically

dropped after losing his prior employment, and he now earns $20/hour (having started at

$16/hour in 2020). PSR ¶ 53. After a sentence of incarceration – even as requested herein – Mr.



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Bateman will be in his mid-50s and will have a significant gap in employment, and as such his

earning and working capacity will be substantially reduced. This is to say nothing, of course, of

his ability to seek and maintain employment after serving a federal prison sentence and being

under supervision after conviction of a sex offense.

         Mr. Bateman further submits that his potential future earnings are likely to be nominal

and are in any event to be offset by his extensive restitution obligations. He fully intends to

prioritize payment of his restitution obligations that we expect to be imposed in this case and

submits that the imposition of a fine would impair his ability to fulfill his restitution obligations.

See 18 U.S.C. § 3572(b) (“If, as a result of a conviction, the defendant has the obligation to make

restitution to a victim of the offense […] the court shall impose a fine or other monetary penalty

only to the extent that such fine or penalty will not impair the ability of the defendant to make

restitution.”). For these reasons, Mr. Bateman asks this Honorable Court not to impose a fine or

special assessment.

    V.      Objections to Certain Special Supervised Release Conditions.

         Under 18 U.S.C. § 3583(d), the court may order special conditions of supervised release,

only to the extent that such conditions:

            (1) are reasonably related to (a) the nature and circumstances of the offense and the
            history and characteristics of the defendant, (b) are designed to afford adequate
            deterrence to criminal conduct, (c) protect the public from future crimes of the
            defendant, and (d) provide the defendant with needed education or vocational
            training, medical care, or other correctional treatment in the most effective manner;

            (2) involve no greater deprivation of liberty than is reasonably necessary for the
            purposes of affording adequate deterrence to criminal conduct, protecting the public
            from further crimes of the defendant, and providing the defendant with needed
            educational or vocational training, medical care, or other correctional treatment in the
            most effective manner; and

            (3) are consistent with any pertinent policy statements issued by the Sentencing
            Commission pursuant to 28 U.S.C. § 994(a). See also U.S.S.C. § 5D1.3(b).


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Mr. Bateman submits that certain conditions recommended by the Probation Department involve

greater deprivations of liberty than are reasonably necessary to achieve the goals of sentencing

and are insufficiently tailored to his conduct and his case. He submits that his proposed

revision(s) to these supervised release conditions set forth herein are consistent with 18 U.S.C.

§3583(d). In a recent case, with more egregious conduct of conviction and more serious offenses,

this Honorable Court adopted and incorporated the same proposed revisions to the conditions of

release proffered by Mr. Bateman below. See United States v. Baez-Nova, No. 1:21-cr-10163-

IT, D.E. # 136, Judgment (D. Mass. Mar. 4, 2024).

       The First Circuit recommends against taking a “broad-brush, untailored approach to

sculpting the conditions of supervised release.” United States v. Hinkel, 837 F.3d 111, 125 (1st

Cir. 2016) (vacating, inter alia, conditions of supervised release that barred the defendant from

accessing the internet without preapproval from Probation and barred the defendant from

accessing ‘sex-related’ sites). Where “the ultimate purpose of supervised release is its eventual

end and the offender’s return to society,” the First Circuit endorsed “the value of a release

program as a rehabilitative tool mirrors the extent to which the conditions of supervised release

simulate life after the program’s end.” See United States v. Perazza-Mercado, 553 F.3d 65, 71

(1st Cir. 2009), quoting Frank E. Correll, Jr., “You Fall into Scylla in Seeking to Avoid

Charybdis”: The Second Circuit’s Pragmatic Approach to Supervised Release for Sex Offenders,

49 Wm. & Mary L.Rev. 681, 703–04 (2007). Mr. Bateman does not advocate for the wholesale

removal of any condition that would deprive him of the same liberty which he would be afforded

upon the termination of supervision, but asks instead to modify certain conditions to permit

lawful conduct and better tailor them to both his history and the need to limit deprivations of

liberty to achieve the goals of sentencing.


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       Mr. Bateman addresses each of the disputed conditions in turn:

       •   Special Condition 6: Polygraph Condition: You must submit to periodic polygraph
           testing as a means to ensure that you are in compliance with the requirements of your
           supervision or treatment program. When submitting to a polygraph exam, you do not
           waive your Fifth Amendment rights, and your exercise of such rights will not give
           rise to a violation proceeding. The results of the polygraph examinations may not be
           used as evidence in Court to prove that a violation of community supervision has
           occurred, but may be considered in a hearing to modify release conditions and/or
           could initiate a separate investigation.

       Mr. Bateman objects to the condition that he submit to periodic polygraph testing.

Polygraph testing is already listed as a possible part of sex offender treatment and evaluation in

special condition number 5, a condition to which he does not object. He will also be subject to a

condition that he answer truthfully all inquiries by probation. Given those conditions, and his

complete compliance with all conditions of release for over three years, this additional condition

is unnecessary and should only be imposed if it is part of a sexual-specific evaluation and/or sex

offender specific treatment. Consistent with Baez-Nova, Mr. Bateman requests that this

Honorable Court substitute the following language for the first sentence of this condition: “You

must submit to polygraph testing if sought as part of a sexual-specific evaluation or sex offender

specific treatment.” 27

       •   Special Condition 7: Parameters of Monitoring Software: You must allow the
           installation of computer internet monitoring software on approved internet capable
           devices, but may still use a computer for work purposes that has been previously
           approved by the Probation Office. The program(s) used will be designed to identify,
           for the Probation Office, the viewing, downloading, uploading, transmitting, or
           otherwise using any images or content of a sexual or otherwise inappropriate nature.
           You must not attempt to remove or otherwise defeat such systems, and must allow
           the Probation office to examine such computer and receive data from it at any
           reasonable time.

       While Mr. Bateman does not object to the use of monitoring software, he does object to




27 See Baez Nova, supra, at pg. 6, Special Condition of Supervision # 11.


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the vague and overly broad use of the software to identify “any images or content of a sexual or

otherwise inappropriate nature.” This vague, undefined term provides Mr. Bateman essentially

no notice of what he can or cannot view online. He proposes that the monitoring software be set

up only to identify sexually explicit material, as defined in 18 U.S.C. § 2256(2)(A) and as set

forth in Special Condition 9. The condition as proposed permits the Probation Department to

review all content on a defendant’s phone, including, for example, communications between

counsel and client. It thus often captures material far afield from potentially contraband images.

Consistent with Baez-Nova, Mr. Bateman requests that this Honorable Court substitute the

following language for the second sentence of this condition: “The program(s) used will be

designed to identify, for the Probation Office, the viewing, downloading, uploading,

transmitting, or otherwise using any images or content of sexually explicit materials as defined

in 18 § 2256(2)(A).” 28

        •   Special Condition 10: Disclosure of Usernames and Passwords: You must
            disclose all account information relative to internet access, social networking, and
            email, including user names and passwords, to the Probation Office[.]

        Mr. Bateman objects to a condition that requires that he disclose usernames and

passwords of all accounts relative to internet access, social networking, and email to his

probation officer. Such a condition is an extreme invasion of privacy that is not warranted given

all the other ways probation will be monitoring his internet usage. Mr. Bateman submits that a

condition requiring disclosure of usernames and passwords would be appropriate only if there is

reasonable suspicion that such accounts are being used in connection with sexually explicit

materials as defined in 18 U.S.C. § 2256(2)(A). Again, consistent with Baez-Nova, Mr. Bateman

requests that this Honorable Court substitute the following language for the first sentence of this



28 See id., at pg. 6, Special Condition of Supervision # 12.


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condition instead: “You must disclose all account information relative to internet access, social

networking, and email, including user names and passwords, to the Probation Office which may

access such accounts only upon reasonable suspicion that such accounts are being used in

connection with sexually explicit materials as defined in 18 § 2256(2)(A).” 29

                                          CONCLUSION

        For the foregoing reasons, the Court should impose 60 months followed by five years of

supervised release.


                                                         Respectfully submitted,
DATED: 5/16/24                                           PAUL BATEMAN
                                                         By His Attorney,

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                                   CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on May
16, 2024.

                                                         /s/ Sandra Gant
                                                         Sandra Gant




29 See id., at pg. 6, Special Condition of Supervision # 15(a).


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